                                     STATE OF NEW YORK
                               OFFICE OF THE ATTORNEY GENERAL
LETITIA JAMES                                                               DIVISION OF SOCIAL JUSTICE
 ATTORNEY GENERAL                                                                 CIVIL RIGHTS BUREAU



June 3, 2019

The Honorable Jesse M. Furman
United States District Court for the Southern District of New York
40 Centre Street, Room 2202
New York, NY 10007

       RE:      Request for Telephonic Access in State of New York, et al. v. U.S. Dep’t of
                Commerce, et al., 18-CV-2921 (JMF).

Dear Judge Furman,

        The Governmental Plaintiffs respectfully request telephonic access for the upcoming
conference scheduled for June 5, 2019. The Court has previously arranged for Plaintiffs who
have noticed an appearance on ECF to listen to court conferences using CourtCall in “listen-
only” mode. See, e.g., Docket No. 117, 537. The Governmental Plaintiffs respectfully request
access to similar arrangements at the upcoming conference.


                                      Respectfully submitted,

                                      LETITIA JAMES
                                      Attorney General of the State of New York

                                      By: /s/ Elena Goldstein
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